          Case 23-03137-JJG-13             Doc 7      Filed 07/24/23          EOD 07/24/23 13:36:39                      Pg 1 of 2

Information to identify the case:
                     Bradley Alan Frame                                    Social Security number or ITIN:     xxx−xx−6896
Debtor:
                     Name                                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court − Southern District of Indiana              Date case filed in chapter 13:    July 21, 2023
Case number:         23−03137−JJG−13


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                 10/2020

For the debtor listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, the debtor, and trustees, including information
about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor, the debtor's property, or certain codebtors. For example, while the stay is in effect,
creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtor.
Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although the debtor can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge of debt. Creditors who assert that the debtor is not entitled to a
discharge under 11 U.S.C. § 1328(f) must file a motion objecting to discharge within the deadlines specified in this notice.
Creditors who want a debt excepted from discharge may be required to file a complaint by the same deadline. (See "Discharge
of debts" section for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records) at pacer.insb.uscourts.gov.

                               The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify the debtor on this case, the debtor must submit a full Social Security or Individual
Taxpayer Identification Numbers, which may appear on a version of this notice. However, the full numbers must not
appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

1. Debtor's full name               Bradley Alan Frame
2. Other names                      None
     (used in last 8 years)
3. Address                          17030 South Burntwood Way
                                    Westfield, IN 46074
4. Debtor's attorney                Candace Arroyo                                      Contact info: 714−483−0918 or
     Name and address               921 East Dupont Road, Suite 251                     Candace@pricelawgroup.com
                                    Fort Wayne, IN 46825
5. Bankruptcy trustee               Ann M. DeLaney                                      Contact info: 317−829−7360 or
     Name and address               Office of Ann M. Delaney                            AnnDelaney341@Trustee13.com
                                    PO Box 441285
                                    Indianapolis, IN 46244
                                                                                                            For more information, see page 2 >




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Debtor Bradley Alan Frame                                                                                                  Case number 23−03137−JJG−13

6. Bankruptcy clerk's office United States Bankruptcy Court                                                Open weekdays 8:30 AM − 4:30 PM ET
   Documents in this case may be     Southern District of Indiana
   filed at this address or          46 E Ohio St Rm 116                                                   Contact info: 317−229−3800
   ecf.insb.uscourts.gov. You may
   inspect all records filed in this Indianapolis, IN 46204
     case at this office or
     pacer.insb.uscourts.gov.
7. Meeting of creditors                   August 23, 2023 at 01:15 PM Eastern                              Location: Telephonic
     The debtor must attend the                                                                            Trustee: Ann M. DeLaney
     meeting to be questioned under       The debtor MUST provide picture identification and               Phone:    877−396−3190
     oath. Creditors may attend but       proof of social security number to the trustee at the
     are not required to do so. If the    meeting of creditors. Failure to do so may result in the case
                                                                                                           Passcode:1241507
     meeting is continued or              being dismissed. Language interpretation of the meeting of
     adjourned to a later date, the       creditors will be provided to the debtor at no cost through a
     date will be on the court docket.    telephone interpreter service upon request made to the
                                          trustee. These services may not be available at all locations.
8. Deadlines                              Deadline to object to discharge or challenge
     The bankruptcy clerk's office        whether certain debts are dischargeable:                         October 23, 2023
     must receive these documents         You must file a complaint by the deadline:                       You must file a motion by the deadline:
     and any required filing fee by the
     following deadlines.                 • if you want to have a debt excepted from                       • if you assert that the debtor is not entitled
                                            discharge under 11 U.S.C. § 523(a)(2) or (4).                    to a discharge under 11 U.S.C. § 1328(f).

                                          Deadlines for filing proof of claim:                             For governmental units only:
                                          A proof of claim is a signed statement describing                January 17, 2024
                                          a creditor's claim. Instructions for filing a proof a
                                          claim or obtaining a form can be found at                        For all others:
                                          www.insb.uscourts.gov/filing_claims.html. A proof                September 29, 2023
                                          of claim form can also be obtained from any
                                          bankruptcy clerk's office.

                                          If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be
                                          paid, you must file a proof of claim even if your claim is listed in the schedules that the debtor
                                          filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                          claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                          with consequences a lawyer can explain. For example, a secured creditor who files a proof of
                                          claim may surrender important nonmonetary rights, including the right to a jury trial.

                                          Objection to exemptions:
                                          The law permits the debtor to keep certain property as exempt. If you believe the law does not
                                          authorize an exemption claimed by the debtor, you may file an objection no later than 30
                                          days after the meeting of creditors concludes.
9. Filing of plan                         The debtor has filed a plan. You will receive a separate notice with a copy of the plan.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                               asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                          States bankruptcy law if you have a question about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to
    bankruptcy case                       adjust debts according to a plan. A plan is not effective unless the court confirms it. You may
                                          object to confirmation of the plan and appear at the confirmation hearing. A copy of the plan, if
                                          not enclosed, will be sent to you later, and if the confirmation hearing is not indicated on this
                                          notice, you will be sent notice of the confirmation hearing. The debtor will remain in
                                          possession of the property and may continue to operate the business unless the court orders
                                          otherwise.
12. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or
                                          part of your debt. Unless the court orders otherwise, the discharge will not be effective until all
                                          payments under the plan are made. A discharge means that creditors may never try to collect
                                          the debt from the debtor except as provided in the plan. If you want to have a debt excepted
                                          from discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing
                                          fee by the deadline. If you assert that the debtor is not entitled to a discharge under 11 U.S.C.
                                          § 1328(f), you must file a motion by the deadline.
13. Exempt property                       The law allows the debtor to keep certain property as exempt. Fully exempt property will not
                                          be sold and distributed to creditors, even if the case is converted to chapter 7. The debtor
                                          must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                          clerk's office or pacer.insb.uscourts.gov. If you believe the law does not authorize an
                                          exemption claimed by the debtor, you may file an objection no later than 30 days after the
                                          meeting of creditors concludes.




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